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                                        U.S. Department of Justice
                                        Civil Division, Federal Programs Branch
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April 29, 2022

Via ECF
Hon. Paul W. Grimm
U.S. District Court for the District of Maryland

Re:      American Academy of Pediatrics v. FDA, No. 8:18-cv-883-PWG

Dear Judge Grimm:

        In accordance with the Court’s letter order regarding the filing of motions (ECF No. 15),
Defendants respectfully submit this letter describing their planned motion for a 14-day extension of
time to file the first status report required by the revised remedial order (ECF No. 202). Plaintiffs
consent to this requested extension.

         The extension request is supported by good cause. Compiling the information needed for
the status report has required considerable time and effort, and Defendants have been working with
Plaintiffs to resolve any ambiguities about which applications will be covered in the status report.
Also, a number of FDA employees helping to prepare the status report were out of the office on
pre-planned leave last week, and a key FDA employee responsible for the status report will be out of
the country on pre-planned leave next week.

       Defendants do not seek to modify any other deadline, and the FDA’s second status report
would remain due July 28, 2022. Defendants are prepared to have this letter serve as their consent
motion for a 14-day extension. We thank the Court for its attention.

                                                       Respectfully submitted,

                                                       BRIAN D. NETTER
                                                       Deputy Assistant Attorney General

                                                       ERIC B. BECKENHAUER
                                                       Assistant Director

                                                        /s/ Garrett Coyle                   .
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